Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 1 of 12

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Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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AFFIDAVIT OF STEVE ADAMS

Steve Adams, being first duly sworn, deposes on oath and states:

1. lam nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

Affidavit of Steve Adams 4
Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 2 of 12

2. | was conservative Republican candidate in the Republican Primary election for
House Seat B in Bingham County’s District 28 in 2004. | ran against incumbent
Joe Cannon. The reason | ran in 2004 was because our party had nominated
someone previously that was not representative of party platform. | wanted to
see a correction in how our local party was represented. The purpose of a party
is to allow a group of people to associate, to create a platform of beliefs on
issues, and then to nominate someone to represent those beliefs.

3. Although Joe Cannon ran successfully for this house seat in 2002 as a
Republican, once elected, he voted with liberal Democrats in the Idaho State
Legislature. During my campaign, | made a point of exposing this fact to
Republican voters in the Bingham County primary.

4. Three central issues were part of this campaign. All were party platform issues
(less government, lower taxes, school choice) Mr. Cannon had voted with the
Democratic mainstream and against Dennis Lake in the last session, cancelling
him out on key votes. Attached hereto, marked Exhibit A, is a true and accurate
copy of a postcard | hand delivered and mailed to voters during that primary
election that set out specific policy differences between Joe Cannon and myself
on these issues, HB754, HB400, HB740, HB271)

5. The majority of precinct leaders in Bingham County endorsed me in the primary,
which was highly unusual for a primary race. | clearly had a majority of internal
party member support. Attached hereto as Exhibit B is a true and accurate copy
of my advertisement listing the public endorsements | received from Bingham

County Republicans and party leaders.

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Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 3 of 12

6. During that campaign, Beverly Beach, a Democratic candidate for District 28,
House Seat A, took out an advertisement in The Morning News. It appeared on
May 24, 2004 on page 5. In the ad, she stated: “I encourage all Democrats to
vote in the Republican Primary.” Attached hereto as Exhibit C is a true and
accurate copy of that advertisement.

7. Beverly Beach also wrote a letter to the editor on May 22 on page 5A in which
she stated :..This is what Democrats can do. Go to the primary on Tuesday and
vote on the Republican ticket. | would like to vote for myself, but it is more
important that you and | not allow the Republican Party to choose our sheriff and
county commissioners. We also need to let our voice be heard in the race for
House Seat B. This is a very important race. Democrats have the power to
decide how we will be represented in Boise. If you want to show your support for
me or Mr. Hulse, simply skip the House Seat A and Senate sections. You do not
have to vote in every section to make your ballot count... Two years ago, | ran for
House Seat A on the Democratic ticket and received 41% of the vote against the
incumbent. That’s over 4,600 votes. If those of you who voted for me in the last
election go out and vote in the primary, we can have a voice in our county
government. Please vote on Tuesday. Much is at stake.” Attached hereto,
marked Exhibit D, is a true and accurate copy of the letter written by Beverly
Beach and published in The Morning News.

8. When | formulated my strategy for this Republican primary election campaign, |
did not consider the effect of a strategic cross-over vote in my election. As a

result, | tailored my political message to appeal only to Republican voters. If | had

Affidavit of Steve Adams 3
Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 4 of 12

anticipated Democrats to cross-over in my election, | would have changed my
political message in order to appeal to those voters:

a) Education: | would not have concentrated on stronger support for charter
schools. That was only a republican issue. In the general election | would
have concentrated more on choice for teachers as democrats and
independents are looking for better support for teachers and | could have
made some headway there.

b) Taxes: Lower taxes would not have been an issue in the general election
either because it would already have been a settled point. We would not
have focused on that issue and would have focused on how we could be
more efficient with social programs and education as opposed to just
spending more money on the problems. Democrats would have seen
repeated statements about cutting taxes as violence against public
education.

c) Water: This also would not have been a main focus. | would have
concentrated on other issues that might have helped me with
independents and even a few democrats. The only reason this was even
an issue was because a section of the Republican party was upset over
how water issues had been handled by Republicans, -- one being my
opponent.

9. In preparation for running this primary election campaign, my campaign staff and
| conducted extensive research through voting records, precinct records, and

mailing lists for mass mailings. We limited all of this research to Republican

Affidavit of Steve Adams 4
Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 5 of 12

voters. We used this information to develop our strategy and to prepare our
materials and messages. If we had known that Democratic voters intended to
cross-over and vote in my primary election, we would have included a much
broader group of people in our research.

10. We would have had to raise more funding during the primary to combat the
cross over vote if we wanted to be effective. When you have to try to address
both party and nonparty issues at once it becomes challenging. | didn’t have the
resources at my disposal to do both, nor do | think it was possible to effectively
communicate my political message in a way that distinguished me from my
opponent with Republican primary voters but at the same time did not engender
a significant cross-over vote against me by nonparty members.

11. | was unable to address party concerns and general public concerns at the
same time during my primary campaign. With an open primary, | was effectively
forced to run two general election campaigns. | chose not to and it had a
negative impact on my ability to win the primary election.

12. As acitizen of Idaho, | want to have debate and dialogue. | want to develop
ideas and see those ideas advanced in public policy. | want to be able to
express my rights of free speech and freedom of association with those of like
mind to accomplish these goals.

13. As a result of the strategic use of cross-over voting in Idaho’s open primary
system, my right to freely associate within my own political party, my right to
close that association to those not supportive of its platform, my ability to impact

public policy, and my rights as a citizen to participate in the political process have

Affidavit of Steve Adams 5
Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 6 of 12

been diminished along with the other citizens of Bingham County who supporied
my efforts and were working within the Republican party for the change we
desired.

44. if | would have chosen to run as an independent in the General Election, | could
have messaged to both parties. However, that would not have accomplished my
objective of addressing my local Republican Party, and would have denied me
my right to represent my Republican Party in office.

15. | lost the 2004 primary election to Joe Cannon by 936 votes. Shortly after the
election, Beverly Beach wrote a letter to her Democratic supporters thanking
them for electing my opponent by crossing over to vote in the Republican
primary. Attached hereto, marked Exhibit E, is a true and accurate copy of that

letter.

FURTHER, AFFIANT SAYETH NOT.

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LE Lome
LEO Lo
Stéve Adams
State of Idaho )
) ss.
County of Ada )

Subscribed and swom io before me, a Notary Public in and for the State of Idaho
on this _| 4° day of January, 2010.

"Notary Public, 7

My commission expires:

Residing At: =<’, Lhe
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Affidavit of Steve Adams 6
Case 1:08-cv-00165-BLW Document 61-17 Filed 09/29/10 Page 7 of 12

CERTIFICATE OF SERVICE
(7 OF
| HEREBY CERTIFY that on this 18" day of January, 2010, | served a copy of

the foregoing Affidavit of Steve Adams by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

Harry Kresky

LAW OFFICE OF HARRY KRESKY
250 W. 57" Street, Ste 2017

New York, NY 10107
harrykresky@aol.com

Michael S. Gilmore

Karin D. Jones

Deputy Attorneys General

Civil Litigation Division

Office of the Attorney General

954 W. Jefferson Street, Second Level
P.O. Box 83720

Boise, ID 83720-0010
mike.gilmore@ag.idaho.gov

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Affidavit of Steve Adams 7
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Bingham County is a

wonderful place to live and
Guise a family. Our

O-ommunity values freedom,
Gimited government, less
Giaxes and more personal

N
opesponsibility.
Oo

My opponent, Joe Canon is
Uput of step with the voters of
Bingham County, especially on taxation and big sovernment spending issues,
ce is a good man with a disappointing liberal voting record. He consistently
ides with the liberal Democrats and cancels out the votes of our-conservative
Bingham County legislators.

Aven Lam elected 1 will strengthen and unify, our Conservative Bingham
Ccounty delegation. Make a difference and vote for Steven Adams on May 25th.

Please join with me to He our Srenones:

1 65-BLW

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STEVEN ADAMS - RIGHT ON THE ISSUES! VOTE MAY 25TH

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www ElectAdam

PAID FOR BY COMMITTEE TO ELECT STEVEN ADAMS

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Exhibit A
We Support Steven Adams...

STEADY CONSERVATIVE LEA
O STATE LEGISLATURE, DISTRICT 28 SEAT B

IDAH

SHIP

Scott Reese
Hugh Sandow
Rosemary Scholes
Steve Bair
Joanne Dixon
Suzanne Acevedo
Ronald P. Reese
Marla Polatis
Scott Packham
Steve Mecham
Ginetle Manwaring
Don Hale

Craig Evens
Mark Cowley
Steve Cederberg
Dayle Holm

R. David Moore
Brian Harrison
Lori Bair
Richard Hill
Brad Bowen

Dee Jorgensen
LaRee Jorgensen
Denise Rowe
Kenny Rowe
Dori Franchaun
Ray Vialpando
Greg Cobia
Afton Bischoff
A. Curtis Galkea

Endorsed By

LIMITED GOVERNMEN
Idaho Chooses Life °

Alethea Galkea

Lee Griffin
Whitney Manwaring
Dan Acevedo

Gary Larsen

Linda Larsen

Troy Henke
Kathryn Henke
Charles D, Packham
Zenith Baker
Chyllis Baker
Gordon Polatis
Bridgette Fife
Anncke Marshall
Douglas Marshall
Ron Murdock
Justin Baker

Jim Pehrson

Cache Olson
Patricia H. Oak
Dennis DeRoche
Linda DeRoche
Rick Catef

Gail Bird

Walter Aldous
Clete Marlow
Joanna Marlow
Shirley Harper
Jerry Bingham
Thayne Christensen

Connie Christensen

Claude Nielsen
Deanna Nielsen
Art Kelly

Dian Kelly

Doris Sandow
Garrett Sandow
Dianne Belnap
Jerry Belnap
Diana Murdock
W. Lynn Murdock
Richard Stallings
Eilenc Stallings
Mark Bair
Sherilynn Bair
Stanley Ottley
Serena Watt
Christine Woods
Dorothy Friedel
Clarence Friedel
Brian Haynes
Kay Haynes
Darte! M, Jensen
Carma L. Jensen
Stephanie Wilden
Montana Niclsen
Kelley McKinlay
Penny McKinlay
Troy Watson
Krisenc Watson

Carolee Jensen
Linda Young
Jason Amald
Nadene Haderlie
Mark Anderson
Mary Anderson
Aaron Murdock
Jennifer Murdock
Lynette Murdock
Steve Murdock
Audrey Miller
Barrett Miller
Candice Morgan
Robyn Kirkham
Robert Kirkham
Becky Christensen
Bryce Harper
Nadean Harper
Linda Wright
Glenn Wright
Angela McCandless
Jay McCandless
Audrey Miller
Larry VanOrden
Paunie VanOrden
Glen W. Haner

K. Macheile Haner
Dan Wallace
Jolene Wallace
Susan Kittleson

T* LOWER TAXES ¢ LESS GOVERNMENT REGULATIO
Family PAC * Idahoans For Excellence In Education * Idahoans For Tax Reform © Citizens For Tax Reform

Enid Williams
Alicia Hansen
George Hansen
Mary Morrison
John Gregery
Bari Jensen

Ray Brumfield
Craig Kawamura
Janet Kawamura
Don McCandless
Norma McCandless
Rex McNair
Elaine McNair
Gregg Peterson
Diana Peterson
Scott Chidester
Linnea Chidester
Duane Beck
Debra Beck

Lori Christiansen
Luana Kinney
Stephen Reiche
Janac Reiche
Jim Haroldsen
Dorothy Haroldsen
Dennis Hansen
Katie Hansen
Gary Kirchner
Elden Felt

Edna Felt

Mark Dubb

Cindy Dabb

John Aird

C. Paul Robertson
Carol Robertsen
Mare Isom

Jeanne Isom
Mary J. Scherbet
Kin Carroll

Lane Carroll
Janae VanOrden
Todd VanOrden
Tammy Gundersen
Kim Gundersen
Steve McCleilan
Stacey McCiellan
Dean Kirkpatrick
Trudy Kirkpatrick
Brett Holm

Trina Holm
Daniclle Cox
Dion Warcing
Fawnel Warcing
Dawnelle Thomas
Betty Henkdricks
Brenda Turner
Kevin Turner
Becky Cook
Darlene Tew
Kent Tew

Bill Adams

Betty Adams
Marjorie Adams
Robert Adams
Michelle Winters Adams
Robert Acevado
Marlene Acevado
Ed Andersen

Tate Bailey
Hilarie Bailey
Nick Benson
Sherice Benson
Laramie Bingham
Heather Bingham
Kurt Bingham

Ja Lene Bingham
Ted Bigham
Kindra Bingham
Andy Cook
Gillian Cook
Travis Crook
Shari Evans
Sidney Harper
Enid Williams
Carlos Christensen
Trina Christensen
Richard Bair
Annette Bair
Jason Moulton
Kelly Moulton

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N * CHOICE IN EDUCATION FOR PARENTS & TEACHERS

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PAID FOR BY GOMMITTEE TO ELECT STEVEN ADAMS iL

CHAIRMAN: SCOTT REESE TREASURER: HUGH SANDOW, CPA

Exhibit B

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‘Source: U.S. National Archives

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District 28

House Seat A a

Democrat

Exhibit C
61-17 Filed 09/29/10 Page 11 of 12

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state Legislature.

Mr. Adams was hired to
implement the charter con-
tract of the Blackfoot charter
school, a public school.

As director, be told those
associated. with the charter
school that. the teachers
could. decide what parts of
the charter. they wanted. to
follow and what parts they
didn't. =

When. charter. schools
operate outside ‘their. char-
ter, they are really private
schools using. public: funds,
That is a: complain often
voiced about charter schools.
What is the value of a con-
tract if it is not followed?

Should we send a legisia-
tor-to Boise that has demon-
strated an unwillingness to
follow the charter school law
enacted by the Legislature?

Iam. voting for Rep.
Cannon and encourage you
to do the same.

Fred Higley,
Blackfoot

EE. Do you realize there are
three. political parties in
Bingham County: the mod-
erate Republicans, the Right
Wing Republicans, and -the
Democrats. . There will -he
only two races decided: on
the November ballot.

I. will be challenging
Dennis Lake for House Seat
A and John "Butch" Hulse
will challenge Stan Williams
for the District 28 Senate
seat.

The. other races will -be
decided next Tuesday: by
only those voting in -the
Republican primary.

The voice of Democrats in
Bingham County ‘will be
completely denied unless we
de something about it:

This is what Democrats
can do. Go to the primary
on Tuesday and vote on the
Republican ticket.

L would like ‘to vote for
myself, but it is more impor-
tant that you and I not allow
the Republican “Party . to
choose our sheriff and coun-
ty commissioners. We alse
need to ‘let our voice ‘be
heard in the race for House
Seat B. This is a very impor-
tant race. Democrats have

the power to decide how we
will be represented in Boise.
If you want to show your
support for me or Mr. Hulse,
simply skip the House Seat
A-and ‘the: Senate -sections.
You do not have to vote in
every section to make your
ballot: count.
: Even though our state
and county are controlled by
the Republican Party, not
everyone in. Bingham
County is.a Republican.

Two years ago, I ran. for
House. Seat. A on the
Democratic ticket and
received 41% -of the vote
against the incumbent. .

That's over 4,600 votes. If
those of you. who voted for
me in the last election go out
and yote in the primary, we
can have a voice in our coun-
ty government. Please vote
on Tuesday: Much is at
stake.

Beverly Beach
Democratic Candidate
House Seat 28-4

fa. When you hear or read the
statement, “law. -enforce-
ment's choice," what does
that statement bring to
mind? Does that statement
mean that the majority of
law enforcement: ‘officers
that live and: work within
Bingham County support
Dave Johnson?

Bingham. County. has
approximately 185° law
enforcement © officers and

personnel (swom and civil:
jan) -working and. residing
within. Bingham. County,
This’ number.” includes
patrolmen, detectives, jail-
ers, dispatchers and reserve
officers. from. Aberdeen.
Blackfoot, Shelley, Idaho
State Police resident officers
and. Bingham. County
Sheriff's Office.

Mr, dobnson would ke us
to believe. that three former
law enforeement “adminis-
trators “and. three. chiefs. of
police represent a majority. I
do not believe it does.

encourage you, as a com-
munity, to Lake a moment to
speak with our local law

See Letiers, 6A

Exhibit D
ase, 1:08-cv-00165-BLW Document 61-17 Filed.Q9/29/0 Page 12o0f12 , os
EF OP DA AO

Bever ly Beach “candaate pee ous Seat A

+: beac: @cs.con
26:South 1000 Waat, Blackfoot, Idaho 83221 664-3656 email; beacn4nouse :

Lagistature Mr. Cannon will canthme tS
the job of a legislator is to reprosart the

ingham County residents education was the most important feewe inthiseleztion =

5 T om exkhrg for your Fe ee the upcoming genorel clcotion If elected, I will work closely 2 ME-
Ceanon spd wll look at bath sides of al teva. I wall always vote ia the beet Intared’ 9” s people HF
Binghara County. Sending Mr. Lake beck to Boles te work Wt Sve ees nce tbe es #25 : :
Wt Lene votes A aHEa ere it Canny voted fori. Ia gretafial x passed. Witkeat the .

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Sind the Culaven's Hoakth Jaqurence sce Prograsa (CHIP), and bring goed paying jobs to Idebe.

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County desorve to be better represcates 1 amp asking for your vos on Novenber 2°. Thank you.

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Pro family: Families ore oxy namther ons priority.

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[fyou can gupport me, plessc call me at 339-3605,

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Exhibit E

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